     Case 2:21-cv-01979-FMO-JPR Document 15 Filed 06/15/21 Page 1 of 1 Page ID #:41




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8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

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11    MIRIAM MALDONADO,                          )   Case No. CV 21-1979 FMO (JPRx)
                                                 )
12                        Plaintiff,             )
                                                 )
13                 v.                            )   JUDGMENT
                                                 )
14    PANADERIA COATZINGO, et al.,               )
                                                 )
15                        Defendants.            )
                                                 )
16

17          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18    Dated this 15th day of June, 2021.

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20                                                                       /s/
                                                                Fernando M. Olguin
21                                                           United States District Judge

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